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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF MINNESOTA
                         Criminal No. 20-207 (JRT/HB)

 UNITED STATES OF AMERICA,                  )
                                            )
                     Plaintiff,             )     GOVERNMENT’S POSITION
                                            )     WITH RESPECT TO
       v.                                   )     SENTENCING
                                            )
 ROMELLE DARRYL SMITH,                      )
                                            )
                     Defendant.             )

      Defendant Romelle Smith was found carrying a gun in his pocket despite his

multiple convictions for violent felonies, including aggravated vehicular hijacking and

second-degree assault. The government respectfully asks the Court to sentence Mr.

Smith to a term of imprisonment of 188 months. Such a sentence is sufficient but not

greater than necessary considering the facts of this case, the history of this defendant

and the general objectives of sentencing.

                                  BACKGROUND

      A. Mr. Smith’s Arrest on July 20, 2020

      Mr. Smith was stopped by police because they thought he was Jamichael

Ramey, the suspect in a shooting days earlier in which the victim was shot in the face.

On the day of his arrest, Smith was at the apartment where Ramey had been staying

and was moving in tandem with a phone tied to Ramey. Following the phone pings,

police located and pulled over the car Smith was riding in. When police took Mr.

Smith out of the car, he told them he had a gun in his pocket, which police retrieved

moments later. PSR ¶ 8. Officers quickly realized Smith was not Ramey, but also
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learned that Mr. Smith had an active Department of Corrections warrant as well as

several felony convictions. PSR ¶¶ 44-49. Mr. Smith was arrested on the warrant and

for unlawful possession of a firearm. Mr. Smith was cooperative with law enforcement

officers throughout this interaction and honest regarding his possession of the gun,

which they greatly appreciated.

      Before pulling over the GMC Envoy in which Mr. Smith was riding, one of the

responding officers saw Mr. Smith in a gas station parking lot getting out of a different

car with someone else inside. Gov’t Ex. 1 (Police Report). Mr. Smith appeared to put

money in his pocket and then returned to the Envoy, which drove away before being

stopped by police. Id.; PSR 7. As he witnessed this activity, with more than 20 years

in law enforcement and 15-plus years in narcotics investigations, Sgt. Peterson “knew

that [he was] watching the conclusion of a narcotics transaction.” Id.

      When officers searched the Envoy post-arrest, they found a blue Tupperware in

the center console that contained 14 baggies of methamphetamine, weighing a total of

about 16.4 grams. PSR ¶ 8; Gov’t Exs. 2, 3 (photos of Tupperware and baggies). Mr.

Smith had been in the passenger seat and T.A. was driving. Mr. Smith was at T.A.’s

apartment earlier that day before the two left together in the Envoy. Only the

Tupperware had a fingerprint impression sufficient for comparison and it was

inconclusive as to T.A. and Mr. Smith. The plastic baggies containing the drugs did

not have a suitable impression to analyze.

      B. Mr. Smith’s criminal and other history
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      Prior to this arrest in July 2020, Mr. Smith had four adult felony convictions, as

well as a domestic assault misdemeanor conviction. PSR ¶¶44-49. Most recently, Mr.

Smith was convicted of Second Degree Assault-Dangerous Weapon-Substantial

Bodily Harm that resulted from Mr. Smith shooting a woman in the abdomen at close

range, after saying words to the effect of “I’ll kill you *itch.” PSR ¶ 49. Mr. Smith was

sentenced to 45 months in prison. Id. After he was released, he absconded five times.

Id. He was in fugitive status in that case when he was arrested with the gun leading to

this prosecution. Id.

      In addition to charged conduct, Mr. Smith has a history of violence against the

mother of his two oldest children, T.T. PSR ¶ 65. T.T. got an Order for Protection

against Mr. Smith due to his assaults and threats. Id. Mr. Smith suffered abuse himself

as a child and grew up amid gang life that led to several juvenile criminal offenses.

PSR ¶¶ 63, 64.

      Mr. Smith also started using drugs at a young age and has a history of significant

drug, including daily use of cocaine and then of methamphetamine. PSR ¶ 72. He has

also suffered from mental health trouble since 2006, though he does not want

treatment for either this or chemical dependency. PSR ¶¶ 69, 72-73. At age 32, he has

never had formal employment, and has made money through musical performing,

drug sales, and gambling. Id. ¶ 76.
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                                    GUIDELINES

   A. PSR Calculations

     The government’s position on the Guidelines accords with the calculations of the

PSR. The PSR found a total adjusted offense level of 31 and a criminal history of VI,

resulting in a Guidelines imprisonment range of 188 to 235 months. PSR ¶ 82. The

supervised release term is 5 years to life and the mandatory minimum of 180 months

applies pursuant to 18 U.S.C. § 924(e). Id. ¶¶ 81, 86.

   B. Issues In Dispute

      1. Possession of the firearm in connection with a controlled substance
         offense.

      Mr. Smith first objects to the PSR’s finding that he possessed the firearm in

connection with a controlled substance offense. The preponderance of the evidence

shows that Mr. Smith was engaged in drug sales just before he was found with a gun

in his pocket and therefore the PSR correctly applied this enhancement. PSR ¶ 22.

      Under the Armed Career Criminal Guidelines, a defendant who “used or

possessed the firearm or ammunition in connection with either a crime of violence, as

defined in §4B1.2(a), or a controlled substance offense, as defined in §4B1.2(b)”

receives a base offense level of 34. USSG § 4B1.4(b)(3)(A). This ACC Guideline

defines a controlled substance offense is defined as “an offense under federal or state

law, punishable by imprisonment for a term exceeding one year, that prohibits the

manufacture, import, export, distribution, or dispensing of a controlled substance (or

a counterfeit substance) or the possession of a controlled substance (or a counterfeit
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substance) with intent to manufacture, import, export, distribute, or dispense.” USSG

§ 4B1.2 (b). Possession with intent to distribute methamphetamine and distribution of

methamphetamine are crimes with penalties of more than one year imprisonment

under both federal and state law. See 21 U.S.C § 841(b)(1)(C); Minn. Stat. §§ 152.01,

Subd. 15a; 151.021, Subd. 1(2)(i); 152.022, Subd. 1(1).

       When searching the car after Mr. Smith’s arrest, the police found a Tupperware

container in the center console containing 16.4 grams of methamphetamine, bagged

for sale:
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      They discovered this bagged meth just after one experienced Sergeant has

witnessed Mr. Smith conclude a drug sale in the parking lot of a South Minneapolis

gas station. Gov’t Ex. 1. Mr. Smith was not employed at the time, has a prior drug

conviction, and has made money from selling drugs in the past. PSR ¶¶ 46, 76. Mr.

Smith also was using methamphetamine daily at this time, which is be an expensive

habit. All of this together makes it more likely than not that Mr. Smith “possessed a

firearm … in connection with a controlled substance offense.” USSG §§ 4B1.2,

4B1.4(b)(3)(A).

         1. ACCA predicate convictions.

      Mr. Smith further contends that his prior convictions do not qualify as

predicates under the ACCA. This contention is readily dismissed. His Illinois

carjacking convictions and Minnesota assault conviction all have as elements “the use,
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attempted use, or threatened use of physical force against the person of another.” 18

U.S.C. § 924(e). The plain language of these statutes makes this conclusion irrefutable.

       The Armed Career Criminal Act imposes a 15-year mandatory minimum

sentence in 922(g) cases if the defendant has three previous convictions for either a

“violent felony” or a “serious drug offense.” 18 U.S.C. § 924(e). As relevant here, a

“‘violent felony’ means any crime punishable by imprisonment for a term exceeding

one year … that—(i) has as an element the use, attempted use, or threatened use of

physical force against the person of another ….” Id. § (e)(2)(B).

       In 2007, Mr. Smith was convicted of Vehicular Hijacking in violation of Illinois

statute 720 ILCS 5/18-3. This statute provided that:

      A person commits vehicle hijacking when he or she takes a motor vehicle from
      the person or the immediate presence of another by the use of force or by
      threatening the imminent use of force.


720 ILCS 5/18-3 (2007). In 2009, Mr. Smith was convicted of the aggravated version

of this statute, Aggravated Vehicular Hijacking in violation of 720 ILCS 5/18-4(a)(3).

Under this law:

      “A person commits aggravated vehicular hijacking when he or she violates
      Section 18-3; and . . . (3) he or she carries on or about his or her person, or is
      otherwise armed with a dangerous weapon, other than a firearm . . . .”

720 ILCS 5/18-4(a)(3) (2009).

      The plain language of these statutes (which is the same until the aggravated

portion) shows they each have as an element the use or threatened use of physical force

against another person. To be convicted of either of these crimes the defendant must
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take “a motor vehicle from the person or the immediate presence of another by the use of force

or by threatening the imminent use of force.” 720 ILCS 5/18-3 (2007, 2009). So, the

defendant has to use force or threaten to use force on a person to take the person’s car

– there is an element of force or threatened force and the ACCA applies.

       The Seventh Circuit agrees, finding 720 ILCS 5/18-3, Illinois vehicular

hijacking, to be an ACCA predicate. In United States v. Norris, 835 F. App’x 892, 893

(7th Cir. 2021), defendant Norris appealed the sentence imposed by the lower court

for two federal offenses. The district court sentenced Norris to the statutory minimum

under the ACCA, finding his two Wisconsin felonies and his Illinois vehicular

hijacking conviction compelled this sentence. Id. Norris contended none of the three

convictions were violent felonies. Id. The Seventh Circuit disagreed. In analyzing 720

ILCS 5/18-3, the court found “there would be no point in arguing that vehicular

hijacking in Illinois is not a violent felony,” noting that “Illinois defined vehicular

hijacking as taking a motor vehicle ‘by the use of force or by threatening the imminent

use of force.’” Id. at 893-94 (citing 720 ILCS 5/18-3). Because of this explicit

requirement of force, the court found the statute to be a violent felony under § 924(e).

Id. at 894; see also United States v. Andrews, 419 F. App'x 673, 675 (7th Cir. 2011) (noting

the defendant’s previous “conviction for vehicular hijacking, [under] 720 ILCS 5/18-

3, which is a crime of violence”).

       Because Illinois Vehicular Hijacking is a violent felony, Illinois Aggravated

Vehicular Hijacking necessarily is, too. This law, 720 ILCS 5/18-4(a)(3), contains the

same elements as 720 ILCS 5/18-3 and adds in the use of a dangerous weapon. See
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720 ILCS 5/18-4(a)(3) (“A person commits aggravated vehicular hijacking when he

or she violates Section 18-3; and . . . (3) he or she carries on or about his or her person,

or is otherwise armed with a dangerous weapon, other than a firearm . . .”). Thus, this

still has the use or threatened use of force against another and adds the possession of

a dangerous weapon as an aggravating element. Without question, it meets the

ACCA’s definition of a violent felony. 18 U.S.C. § 924(e)(2)(B).

       As Mr. Smith concedes, his argument to the contrary is essentially foreclosed

by the Eighth Circuit decision in United States v. Sykes, where the court found 720 ILCS

5/18-4(a)(3) to be a “crime of violence” under USSG § 2K2.1(a). See 914 F.3d 615,

619-620 (8th Cir. 2019). Guideline § 2K2.1(a) defines a crime of violence with the same

use of force language as the ACCA and therefore courts use these definitions

interchangeably. See Sykes, 914 F.3d at 620; USSG §§ 4B1.2(a)(1) (requiring “as an

element the use, attempted use, or threatened use of physical force against the person

of another.”); 2K2.1(a).

       In Sykes, Sykes pled guilty to being a felon in possession of a firearm. 914 F.3d

at 617. At sentencing, the district court applied USSG § 2K2.1(a) and found Sykes’

conviction for Illinois Aggravated Vehicular Hijacking was “a crime of violence” that

thus enhanced Skyes’ base offense level. Id. at 620. Sykes contended ILCS 720-5/18-

4(a)(3) was not a violent offense “because it does not require, as it must, “force capable

of causing physical pain or injury.” Id.

       The Eighth Circuit upheld the district courts application of USSG § 2K2.1(a),

relying on the ACCA case of Stokeling v. United States, 139 S. Ct. 544 (2019). Id. In
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Stokeling, the Supreme Court noted “that common-law robbery ‘has as an element the

use, attempted use, or threatened use of physical force against the person of another’”

and is thus an ACCA predicate. Id. at 620 (citing Stokeling 139 S. Ct. at 551). Since

the Illinois Aggravated Vehicular Hijacking statute, “adheres to the common-law

definition of robbery,” the Eighth Circuit held it to be a crime of violence and rejected

Sykes’ argument. The reasoning and conclusions of Stokeling and Sykes apply here.

      Because both Mr. Smith’s Illinois vehicular hijacking convictions meet the

definition of a “violent felony’ under the ACCA, the PSR properly found the 15-year

mandatory minimum applies.

                                    ARGUMENT

      Applying the facts and circumstances of this case to the applicable factors of 18

U.S.C. § 3553(a), demonstrates that imprisonment of 188 months is the appropriate

sentence. It is sufficient but not greater than necessary to accomplish the statutory

goals of sentencing.

      A. Mr. Smith’s history and characteristics, the need to protect the public,
         and to provide just punishment support a 188- month sentence. (18 U.S.C.
         § 3553(a)(1), (2))


      Mr. Smith was carrying a gun while riding in a car with drugs and having a

warrant for his arrest and multiple violent felony convictions. Thankfully, he was
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compliant and not engaged in acts of violence when arrested and these factors mitigate

his case.

       But Mr. Smith has a history of violent crime, including domestic assault and

shooting the girlfriend of his former girlfriend in the stomach at close range. PSR ¶¶44-

49, 65. Particularly when combined with his history of drug abuse, mental health

trouble, and rejection of treatment, this poses a concerning picture for public safety.

Mr. Smith needs chemical abuse treatment and apparently could benefit from mental

health treatment as well. The requested sentence will allow him, if he so elects, to

participate in RDAP and other rehabilitative programming, thus providing needed

correctional treatment. See 18 U.S.C. § 3553(a)(32)(D).

       B. A sentence of 188 months will promote respect for the law, deter future
          violations, and avoid unwarranted disparities. (18 U.S.C. § 3553(a)(2),
          (3), (4), & (6))

       A sentence at the low end of the Guidelines will also promote respect for the

law and will deter others and Mr. Smith from possessing a gun with a record of violent

convictions. The requested sentence will also avoid unwarranted disparities because it

is a Guidelines sentence for this case that falls squarely in the heartland of ACC felon

in possession cases. Mr. Smith has aggravating facts in his past and mitigating facts in

how he conducted himself once approached by police and therefore a sentence at the

bottom of his Guidelines range properly balances these considerations.
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                                     CONCLUSION

      Based on the foregoing and arguments to be made at sentencing, the United

States respectfully asks that the Court sentence the defendant to 188 months of

imprisonment, a sentence sufficient but not greater than necessary to effect the

objectives of 18 U.S.C. § 3553(a).



Dated: May 10, 2022                        ANDREW M. LUGER
                                           United States Attorney

                                           /s/ Sarah E. Hudleston

                                           BY: SARAH E. HUDLESTON
                                           Assistant U.S. Attorney
